                            No. 25-1162

                               IN THE
       IN THE UNITED STATES COURT OF APPEALS
               FOR THE FOURTH CIRCUIT
                         ________________
                        Ryan Dillon-Capps
                                                            Plaintiff-Appellant,
                                   v.


             Ohana Growth Partners, LLC et al.,
                                                          Defendants-Appellees.
                         ________________
                         On Appeal from
                      the U.S. District Court
                   for the District of Maryland
                         No. 1:24-CV-3744
                 ____________________________
         Ryan Dillon-Capps Motion for Ruling to Vacate
                  ____________________________


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                                   Introduction
      I, Ryan Dillon-Capps (née Wagner), the Plaintiff-Appellant-Petitioner,

pursuant to FRAP 27, FRCP 60(b)(4), and this Court’s inherent authority,

respectfully move for an order vacating the rulings.


                              Grounds for Vacatur
                                  I FRCP 60(b)(4)
      The exception to the general rule barring collateral attacks on subject

matter jurisdiction flows from FRCP 60(b)(4), which states in relevant part:

          “On motion and upon such terms as are just, the court may
    relieve a party or a party's legal representative from a final
    judgment, order, or proceeding for the following reasons: ... (4) the
    judgment is void”.
      The Supreme Court addressed FRCP 60(b)(4) in United Student Aid

Funds, Inc. v. Espinosa, 559 U.S. 260, 270 (2010), stating:

          “A void judgment is a legal nullity. Although the term “void”
    describes a result, rather than the conditions that render a judgment
    unenforceable, it suffices to say that a void judgment is one so
    affected by a fundamental infirmity that the infirmity may be raised
    even after the judgment becomes final”.
      The Espinosa Court found that FRCP 60(b)(4) applies when a judgment

is premised on “certain type of jurisdictional error or on a violation of due

process that deprives a party of notice or the opportunity to be heard.” United

Student Aid Funds, Inc. v. Espinosa, 559 U.S. 260, 270–71 (2010).




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      The Supreme Court qualified the jurisdictional error that applies to a

FRCP 60(b)(4) motion as one that “lack[s] even an ‘arguable basis’ for

jurisdiction.” The Court cited as an example United States v. Boch

Oldsmobile, Inc., 909 F.2d 657, 661 (1st Cir. 1990), which held that “a clear

usurpation of power will render a judgment void.” United Student Aid Funds,

Inc. v. Espinosa, 559 U.S. 260, 271 (2010) (citing Nemaizer v. Baker, 793 F.2d

58, 65 (2d Cir. 1986)).

      The Supreme Court’s assertion that the exercise of jurisdiction not

given is to “usurp that which is not given,” and that to do so would be

“treason to the Constitution,” mirrors the language the Court quoted to

describe the type of jurisdictional error that renders a judgment void under

FRCP 60(b)(4): “a clear usurpation of power will render a judgment void.”

      Additionally, the Fourth Circuit retains its inherent power to address

fraud upon the court. See Hazel–Atlas Glass Co. v. Hartford–Empire Co., 322

U.S. 238, 246–47 (1944) (holding that the Court could vacate its own

judgment based on fraud upon the court); Chambers v. NASCO, Inc., 501 U.S.

32, 44 (1991) (confirming the inherent authority of federal courts to remedy

fraud on the court).




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                 II Usurpation of Power—Jurisdiction Error
      In Reed v. Goertz, 598 U.S. 230, 243 (2023), the petitioner filed an

original action in District Court under 42 U.S.C. § 1983 after a judgment on

the merits had been reached—asserting constitutional violations. The U.S.

District Court dismissed Reed’s complaint, and the Fifth Circuit affirmed on

the ground that the suit was filed too late. The State of Texas argued that

Reed lacked standing under the Rooker-Feldman doctrine and invoked the

State’s sovereign immunity. Reed v. Goertz, 598 U.S. 230, 230–34 (2023).

Simply stated, my case benefits from the same legal arguments the Supreme

Court upheld in favor of Reed, and none of the impairments Texas asserted

and Reed conceded to.

      My motion to disqualify Brendan Abel Hurson was filed on April 29,

2025, along with three affidavits and their supporting exhibits. One of my

affidavits—submitted in opposition to Mr. Hurson’s plausibility—was

docketed with the Fourth Circuit Court as Circuit ECF 24-4 and is

incorporated by reference into this motion.

      I am the prevailing party in the state court action, with the state court

dismissing the state plaintiff’s case, which was vitiated after Defendant

Stringer granted the state plaintiff’s voluntary dismissal without prejudice.

See Circuit ECF 24-4, at 1–3. Maryland law is clear that “a voluntary

dismissal vitiates and annuls all prior proceedings and orders in a case.”



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Baltimore & Ohio R. Co. v. Equitable Bank, N.A., 77 Md. App. 320, 328

(1988). Under Maryland Rule 2-506(e), the dismissing party is responsible for

all costs unless otherwise provided by stipulation or court order.

      In Reed v. Goertz, 598 U.S. 230, 242–43 (2023), the Supreme Court

held that Article III standing and the Rooker-Feldman doctrine are two

intertwined principles of federal jurisdiction, divided between original and

appellate jurisdiction. When a court lacks Article III standing, it also lacks

subject matter jurisdiction. A common misunderstanding is that Rooker-

Feldman itself prevents subject matter jurisdiction, when in truth this is a

byproduct of lacking Article III standing. “Standing is the ‘irreducible

constitutional minimum’ necessary to make a justiciable ‘case’ or ‘controversy’

under Article III, § 2.” Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 84

(1998) (citing Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992)). When

there is no Article III jurisdiction, there is no subject matter jurisdiction. Int’l

Video Corp. v. Ampex Corp., 484 F.2d 634, 636 (9th Cir. 1973) (“If there is no

controversy, there is no jurisdiction in a constitutional sense regardless of

whether statutory jurisdiction might otherwise be properly founded”).

      “The Constitution limits the federal courts’ jurisdiction to ‘Cases’ and

‘Controversies,’ Art. III, § 2, cl. 1, constraining judicial power to ‘the

determination of real, earnest and vital controvers[ies] between’ contending




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litigants.” Reed v. Goertz, 598 U.S. 230, 243 (2023) (citing Chicago & Grand

Trunk R. Co. v. Wellman, 143 U.S. 339, 345 (1892)). “Under that doctrine,

any party requesting relief from a federal court must assert ‘an injury’ that is

‘concrete, particularized, and actual or imminent,’ and he must show that his

injury is both ‘fairly traceable to the challenged action’ and ‘redressable by a

favorable ruling.’” Reed v. Goertz, 598 U.S. 230, 243 (2023) (citing Monsanto

Co. v. Geertson Seed Farms, 561 U.S. 139, 149 (2010)).

      My First Amended Informal Brief, filed on April 21, 2025, is docketed

in the Fourth Circuit as Circuit ECF 20-1 and is incorporated by reference

into this motion. 1

      Underlying the mandatory elements for Article III jurisdiction are

“contending litigants” and “party”—not a District Court judge. The only

ruling to overturn would be the one that rendered me the prevailing party;

my appeal is challenging Mr. Hurson’s sua sponte overturning of the state

court’s dismissal. See Circuit ECF 20-1, at 88–91. It is not materially

relevant to ask whether Mr. Hurson explicitly stated that he was overturning

the state court’s dismissal, because “[i]t is the nature and effect which is

controlling.” D.C. Ct. of Appeals v. Feldman, 460 U.S. 462, 482 (1983) (“the




1 My subsequent affidavits have provided a few corrections through declarations of

errata—corrections that benefited from additional information.



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form of the proceeding is not significant”; rather, “[i]t is the nature and effect

which is controlling”) (internal quotation marks omitted). The prerequisite

needed for Mr. Hurson to recast me as the state court loser—whose claims

are barred under the Rooker-Feldman doctrine—is to first overturn the state

court’s granting of the state plaintiff’s voluntary dismissal without prejudice.

See Circuit ECF 24-4, at 8 (Mr. Hurson “invokes the Rooker-Feldman

doctrine to bar review—but only after recasting me as the loser in the very

state court case I prevailed in”).

      However, only the Supreme Court has “appellate jurisdiction over

state-court judgments,” and, in particular, “[t]he jurisdiction possessed by the

District Courts is strictly original.” Reed v. Goertz, 598 U.S. 230, 244–45

(2023) (citing Rooker v. Fidelity Trust Co., 263 U.S. 413, 416 (1923)). “The

criterion which distinguishes appellate from original jurisdiction is that it

revises and corrects the decisions of another tribunal.” Reed v. Goertz, 598

U.S. 230, 243–44 (2023) (citing Ex parte Bollman, 4 Cranch 75, 86 (1807)); see

also Marbury v. Madison, 1 Cranch 137, 175–76 (1803).

      Mr. Hurson asserted that he understood the state plaintiff’s case to

have been dismissed through their own voluntary dismissal. Additionally, my

motion for reconsideration was filed on January 13, 2025, and it was

explicitly stated that “the case dismissed without prejudice,” “was dismissed




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without prejudice,” “the underlying state court matter was voluntarily

dismissed without prejudice, and no final judgment on the merits was issued

in that case,” and “no adverse state court judgment exists because the

underlying case was voluntarily dismissed without prejudice.” See District

ECF 19-0, at 1, 3, 4, 9.

      Later, Mr. Hurson reframed his own dismissal with prejudice as a non-

final judgment without prejudice in order to apply a lesser standard of

review. See Circuit ECF 24-2, at 12. However, he has never refuted my

statements regarding the state action being dismissed without prejudice—

and neither has anyone else. Under the doctrine of ratification, Mr. Hurson

has ratified his own action—he intended to overturn the state court’s

granting of the voluntary dismissal.

      After Mr. Hurson overturned the state court on January 8, 2025, he

declared that the court lacked jurisdiction because of the Rooker-Feldman

doctrine. See Circuit ECF 20-1, at 92. However, Mr. Hurson continued to

issue hypothetical advisory opinions on the merits of legal arguments and

claims. See District ECF 18-0, at 5–16 (Jan. 8—dismissing claims and

defendants); District ECF 18-0, at 16 (Jan. 8—directing Plaintiff to file an

amended complaint that does not include dismissed causes of action or

defendants—dismissal with prejudice).




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      Mr. Hurson then claimed that he was “unable to tease apart the

remaining claims” and proceeded to deny my motions. See District ECF 18-0,

at 16 (“unable to tease apart other claims”); District ECF 18-0, at 17–20 (Jan.

8—denying motions); District ECF 27-0 (Feb. 12, 2025—denying motion for

TRO and preliminary injunction).

      “[T]he ‘doctrine of hypothetical jurisdiction’ . . . carries the courts

beyond the bounds of authorized judicial action and thus offends

fundamental separation-of-powers principles . . . [W]ithout proper

jurisdiction, a court cannot proceed at all, but can only note the jurisdictional

defect and dismiss the suit . . . For a court to pronounce upon a law’s meaning

or constitutionality when it has no jurisdiction to do so is, by very definition,

an ultra vires act.” Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 84

(1998); see also Flast v. Cohen, 392 U.S. 83, 96–97 (1968) (acknowledging the

Article III “prohibition against advisory opinions”).

      The judiciary has no power to create jurisdiction. Stoll v. Gottlieb, 305

U.S. 165, 171 (1938) (“A court does not have the power, by judicial fiat, to

extend its jurisdiction over matters beyond the scope of the authority granted

to it by its creators”). And federal courts “must be sure of [their] own

jurisdiction before getting to the merits.” Ortiz v. Fibreboard Corp., 527 U.S.




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815, 831 (1999) (citing Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 88–

89 (1998)).

      The use of hypothetical jurisdiction raises serious concerns and begins

with the inability to distinguish between statutory jurisdiction and Article III

jurisdiction. See Waleski v. Montgomery, McCracken, Walker & Rhoads, LLP,

143 S. Ct. 2027, reh’g denied, 144 S. Ct. 53 (2023) (“The continued use of

hypothetical jurisdiction raises serious concerns. To start, the lower courts’

distinction between ‘statutory jurisdiction’ and ‘Article III’ jurisdiction seems

untenable”). The Waleski Court cited the Eleventh Circuit, reaffirming that

federal courts “cannot exercise hypothetical jurisdiction any more than we

can issue a hypothetical judgment. ‘Federal courts are courts of limited

jurisdiction. They possess only that power authorized by Constitution and

statute, which is not to be expanded by judicial decree.’” Friends of the

Everglades v. U.S. E.P.A., 699 F.3d 1280, 1289 (11th Cir. 2012) (citing

Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994))

(internal citations omitted).

                                III Deprived of Notice
      On May 27, 2025, Chief Judge Albert Diaz issued a memorandum and

order in response to my judicial misconduct complaint against District Judge

Brendan A. Hurson. That order is now filed in the appellate record of the




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Fourth Circuit Court as Circuit ECF 34-2, attached to the affidavit filed as

Circuit ECF 34-1, and is hereby incorporated by reference into this motion.

On page 3 of that order, Chief Judge Diaz stated:

          “Complainant’s challenges to the subject judge’s rulings,
    including his directions to court staff as to how the contents of a CD-
    ROM should be docketed, are dismissed pursuant to 28 U.S.C. §
    352(b)(1)(A)(ii) as merits-related.”
        This statement constitutes a material admission that the docketing of

CD-ROM contents—previously understood only through indirect

communications with court personnel—originated from Judge Hurson’s own

directives. The Chief Judge of the Fourth Circuit Court has now formally

acknowledged and validated the allegation that Judge Hurson issued

instructions to alter or affect the docketing of evidentiary material, thereby

rendering Judge Hurson’s directive to Baylee Wilson a judicially established

fact.

        My motion for a ruling to disqualify and reassign was docketed with

the Fourth Circuit Court on June 7, 2025, as Circuit ECF 37 and is

incorporated by reference into this motion.

Circuit ECF 37, at 3–7, states:

          However, the District Court record lacks any order reflecting
    the directive. This is a structural error because the “entered-on-
    docket” date is the legally operative date from which a party must
    take some action from the entry of an order. Nat'l Sav. Bank of
    Albany v. Jefferson Bank, 127 F.R.D. 218, 222 (S.D. Fla. 1989). I have



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less than no notice—I do not even have a docketed order from which
notice could be given. It is a structural error that prevented me from
having any opportunity to act—nor can it reasonably be expected that
I act before an order is docketed in response to the alteration of my
pleading. See Brown v. United States, 225 F.2d 861, 863 (8th Cir.
1955) (“with nothing more stated, could reasonably be expected to
regard this as a judgment entry or even to suspect it of possibly
having been so intended”); Atlantic Richfield Co. v. Monarch Leasing
Co., 84 F.3d 204, 207 (6th Cir. 1996) (“[U]nder federal procedural
law, a federal court judgment is ‘rendered’ only when it is set forth in
writing on a separate, discrete document and entered on the civil
docket”).
       Without a docketed order, there is nothing for a party to act on
to preserve an error, nor is there any basis for appellate jurisdiction.
See Wells v. Shriners Hosp., 109 F.3d 198, 200 (4th Cir. 1997)
(“[W]ithin ten days of receiving a copy of the order,” a party must act
to preserve a claim of error, and “[s]everal courts have held that a
party must comply with this statutory provision in order to preserve
a claim of error”); Jenkins v. United States, 325 F.2d 942, 945 (3d Cir.
1963) (“the record reveals no order entered on the motion as from a
final judgment, we are without jurisdiction”).
      My motion to disqualify was filed with dozens of exhibits
(Circuit ECF 24-5 to 25-9; Circuit ECF Series 25 to 29) attached to
three affidavits. This includes my affidavit in support of Court Record
Tampering and Obstruction, which was amended a day later to
correct a typographical error. See Circuit ECF 31-1. It is hereby
incorporated by reference into this motion.
      The affidavit provides detailed information about missing wet
signatures, staple marks, court-issued stamps, clerk’s stamps, judge-
assigned case designation stamps, and other elements which were
present on the original documents—one or more of which are missing
from District ECF 1-2 (29 proposed summons); District ECF 1-4
(complaint integrated appendix: pretext); District ECF 1-5 (complaint
integrated appendix: parties); District ECF 1-6 (complaint integrated
appendix: coverup); District ECF 1-7 (complaint integrated appendix:
counts); District ECF 1-8 (prefatory appendix A: table of defendants);
District ECF 1-9 (prefatory appendix B: cause of action table);
District ECF 1-10 (memorandum of law in opposition to immunity);
District ECF 1-11 (resume for Timothy Allen); District ECF 1-12
(table of exhibits); District ECF 3-1 (meet and confer letter to



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attorney general Anthony Brown); District ECF 3-2 (proposed order
for state-level negotiations and systemic oversight relief); District
ECF 4-1 (memorandum of law in support of interlocutory partial
summary judgment); District ECF 5-1 (proposed order for conditional
permissive joinder); District ECF 7-1 (affidavit of Caroline Dillon-
Capps); District ECF 7-2 (affidavit of Ryan Dillon-Capps financial
harm). See Circuit ECF 31-1, at 5–10, 14–18.
      The Docket History clearly establishes that I filed these
documents with the original filing on December 27, 2024. However,
the docket text reflects alterations to the court record on December 30
and December 31, 2024, without a court order, stating “additional
attachment(s) added” and “corrected main documents”. See Circuit
ECF 31-1, at 10–14.
      Two documents that were never filed, but instead placed in the
trash bin inside the Clerk’s Office, were also added to the District
Court record. See Circuit ECF 31-1, at 1–4.
      On January 3, 2025, portions of the exhibits originally
submitted on December 27, 2024, and later entered into the District
Court record as District ECF 16-0 through 16-15, were formally
docketed as supplemental filings with a filing and entry date of
January 3, 2025. However, court staff member Baylee Wilson
preserved the original “received” date of December 27, 2024, in the
docket text. See Circuit ECF 31-1, at 24–25. Unfortunately, pages are
missing from District ECF 16-0 (missing 1 page—160/161); District
ECF 16-8 (missing 42 pages—226/268); District ECF 16-12 (missing
5 pages—115/120); District ECF 16-14 (missing 2 pages—89/91).
Circuit ECF 31-1, at 25–27. See also Circuit ECF 31-1, at 28–34
(expanded details of missing pages). Additionally, pages were
shuffled out of order, which obfuscated critical notice text on page 1
in District ECF 16-13. See Circuit ECF 31-1, at 27. See also Circuit
ECF 31-1, at 30 (expanded details of shuffled pages).
      The Court docket reflects the in forma pauperis filing from
December 27, 2024, as District ECF Series 2, but is missing part of
the original submission. See Circuit ECF 31-1, at 28.
      The original physical exhibit—a signed CD—and the thousands
of pages of hybrid exhibits it contained needed to be docketed
traditionally and preserved in physical form to ensure that metadata
and embedded content would not be altered through standard
docketing procedures. See Circuit ECF 31-1, at 34–36.



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                              IV Right to be Heard
      The Supreme Court has grounded the right [to petition the

government] at various times in different provisions of the Constitution: the

“Article IV Privileges and Immunities Clause, the First Amendment Petition

Clause, the Fifth Amendment Due Process Clause, and the Fourteenth

Amendment Equal Protection and Due Process Clauses.” Christopher v.

Harbury, 536 U.S. 403, 415 n.12 (2002) (“Harbury III”) (citations omitted). “It

was not by accident or coincidence that the rights to freedom in speech and

press were coupled in a single guaranty with the rights of the people

peaceably to assemble and to petition for redress of grievances. All these,

though not identical, are inseparable. They are cognate rights.” Thomas v.

Collins, 323 U.S. 516, 530 (1945).

      Furthermore, “[t]he right not only protects the ability to get into court,

but also ensures that such access be adequate, effective, and meaningful.”

Harbury v. Deutch, 233 F.3d 596, 607 (D.C. Cir. 2000) (“Harbury I”)

(quotation marks and citations omitted), reh’g denied, 244 F.3d 956 (D.C. Cir.

2001) (per curiam) (“Harbury II”).

      Without freedom of speech, there is no petition to be heard, and

without freedom of thought, belief, and expression, there is no freedom of

speech—because freedom of speech and expression is the presentation of




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ideas, thoughts, and beliefs. Due process is what protects these fundamental

personal rights and liberties.

See, e.g.:
• Gitlow v. New York, 268 U.S. 652, 666 (1925) (“[F]reedom of speech and of the
press—which are protected by the First Amendment from abridgment by
Congress—are among the fundamental personal rights and ‘liberties’ protected by
[Due Process]”).
• Bond v. Floyd, 385 U.S. 116 (1966) (First Amendment of the Federal
Constitution forbids abridgment of freedom of speech).
• Wayne Unger, Stay Out of My Head: Neurodata, Privacy, and the First
Amendment, 80 Wash. & Lee L. Rev. 1439, 1465 (2023) (“[T]he freedoms of speech
and expression, for instance, are the presentation of ideas, thoughts, and beliefs”).
• Sindicato Puertorriqueño de Trabajadores v. Fortuño, 699 F.3d 1, 11 (1st Cir.
2012) (“The First Amendment confirms the freedom to think for ourselves”)
(quoting Citizens United v. Fed. Election Comm’n, 558 U.S. 310, 356 (2010)).
• Nat’l Inst. of Fam. & Life Advocs. v. Becerra, 138 S. Ct. 2361, 2379 (2018)
(Kennedy, J., concurring) (“[F]reedom of speech secures freedom of thought and
belief”).
• United States v. Snowden, 770 F.2d 393, 398 (4th Cir. 1985) (Ervin, J.,
concurring) (citing Cantwell v. Connecticut, 310 U.S. 296, 303 (1940)) (“[T]he
Supreme Court has long held that the freedom of one's beliefs is absolutely
protected by the First Amendment”).
• Stanley v. Georgia, 394 U.S. 557, 559, 564 (1969) (makers of our Constitution
“sought to protect Americans in their beliefs, their thoughts, their emotions and
their sensations”).
• United States v. Reidel, 402 U.S. 351, 355–56 (1971) (affirming Stanley v.
Georgia, 394 U.S. 557 (1969), and its focus on the constitutional right to “freedom
of mind and thought and on the [right to] privacy of one’s home”).
      My beliefs and thoughts are expressed through my filings, and when

they are suppressed or abridged, they cease to be mine. In order for me to

exercise freedom of speech through my right to petition the government for

redress, and my right to be heard, it must be my ideas, thoughts, and beliefs

that are reflected in my court filings and form the basis of what is ruled upon.

Otherwise, it is someone else’s rights that are being exercised, and mine are


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being denied. See Neil M. Richards, Intellectual Privacy, 87 Tex. L. Rev. 387,

407 n.2 (2008) (“If we value what people have to say, we need to ensure they

develop something to say that is not skewed or chilled before it can be

uttered”).

      When my legal expression is forced, suppressed, or altered, I lose far

more than my voice—I am losing my thoughts, dignity, and my very identity.

See Wayne Unger, Stay Out of My Head: Neurodata, Privacy, and the First

Amendment, 80 Wash. & Lee L. Rev. 1439, 1521 (2023) (articulating the

underlying principles of my statement: “If the freedom of thought, rooted in

the history and tradition of the United States, is to mean anything, it should

be wholistic in application because ‘[t]o lose freedom of thought is to lose our

dignity, our democracy, and our very selves’”). See also Simon McCarthy-

Jones, The Autonomous Mind: The Right to Freedom of Thought in the

Twenty-First Century, 2 Frontiers in A.I, Sept. 26, 2019, n.32, at 1.

      Tampering with and suppressing my filings is governmental

interference—violating my First Amendment and Due Process rights.

Preventing my ideas, thoughts, and beliefs from being heard denies my right

to petition the government for redress and to receive due process protections.

United States v. Cruikshank, 92 U.S. 542, 554–55 (1876). My “right of

petition is one of the freedoms protected by the Bill of Rights.” Eastern R.R.




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Presidents Conf. v. Noerr Motor Freight, Inc., 365 U.S. 127, 138 (1961). My

right to petition includes my right of access to the courts. See California

Motor Transp. Co. v. Trucking Unlimited, 404 U.S. 508, 510 (1972) (“[T]he

right of access to the courts is indeed but one aspect of the right of petition”);

Chambers v. Baltimore & Ohio R.R. Co., 207 U.S. 142 (1907) (“[T]he right to

sue and defend in the courts is the alternative of force. In an organized

society it is the right conservative of all other rights and lies at the

foundation of orderly government. It is one of the highest and most essential

privileges of citizenship....”).

A Compelled Speech
      In my amended informal brief, I asserted that Mr. Hurson’s “ruling[s]

reference[] [defendants, claims, and motions] by name and cite[] portions of

the filing, but the rulings are directed at a court-constructed adaptation—an

interpretation that departs from objective reality and the intended meaning

of the filing—as though the Court had inadvertently issued a ruling meant

for a different case.”

 See, e.g.:
 • District ECF 18-0, at 5–9 (sua sponte created “claims contesting the rulings in
 the state action… violates the Rooker-Feldman Doctrine”);
 • District ECF 18-0, at 12–13 (reframed claims as “Plaintiff appears to allege…
 failure to investigate Plaintiff[’]s complaints must be dismissed”);
 • District ECF 18-0, at 17 (reframed as “pro se litigant, [request] to essentially
 take over the Maryland Judiciary”);




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• District ECF 18-0, at 17–18 (reframed as “summary judgment… seeks to appeal
the state court's dismissal of the state action and declination to rule on the motion
in that case”);
• District ECF 18-0, at 18–19 (reframed joinder as “a pro se litigant, may not
represent Chisholm”);
• District ECF 18-0, at 17 (“Plaintiff’s remedy does not lie in federal oversight of
the state court system”);
• District ECF 18-0, at 16 (conspiracy claims reframed as claims “resulting in
adverse rulings [in] the state case do not plausibly rise to the level of asserting a
conspiracy claim”);
• District ECF 18-0, at 17 (forced motive—“Plaintiff is not the first and surely not
the last litigant to come away from contentious litigation unhappy”).
But see:
• Circuit ECF 20-1, at 99–103 (gender discrimination—forced to “explain” my
pronoun usage to correct misleading information);
• Circuit ECF 20-1, at 87–90 (Rooker-Feldman—complete absence of jurisdiction);
• Circuit ECF 20-1, at 90–95 (non-judicial ultra vires acts);
• Circuit ECF 20-1, at 72–84 (District v. State).
      Being forced to litigate Mr. Hurson’s claims as my own is

unconstitutional compelled speech. See Wooley v. Maynard, 430 U.S. 705, 714

(1977) (“[T]he right of freedom of thought protected by the First Amendment

against state action includes both the right to speak freely and the right to

refrain from speaking at all”).

B Suppressed Speech
      My filings included legal arguments against judicial and sovereign

immunity; all but one of those arguments were suppressed when Mr. Hurson

dismissed the State of Maryland, the judge defendants, and the clerk.

See, e.g.:
• District ECF 18-0, at 9 (“claims against the state court judges must be dismissed
under the doctrine of judicial immunity”);
• District ECF 18-0, at 11 (“Quasi-judicial immunity also protects the Clerk”);



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• District ECF 18-0, at 13 (“The State of Maryland has not waived [Eleventh
Amendment] immunity”);
But see:
• Circuit ECF 20-1, at 136–155 (judicial and quasi-judicial immunity and
conspiracy);
• Circuit ECF 20-1, at 119–130 (waiver and congressional abrogation).
      Contrary to what has been asserted, my filings are not deficient,

conclusory, implausible, unsupported, procedurally defective, or unlikely to

succeed on the merits. The only partial exception pertains to the Norris-

LaGuardia Act argument, which is more appropriately situated under the

Maryland Anti-Injunction Act. While my filings may be wanting in form and

procedural precision, they are fully supported by evidence, detailed factual

statements, corroboration by others, and remain undisputed and unrefuted.

Procedural prerequisites have been satisfied to the extent of my

responsibility.

See, e.g.:
• District ECF 18-0, at 3 (“Plaintiff’s complaint suffers a number of deficiencies”);
• District ECF 18-0, at 14 (“not plausibly alleged ongoing violations of federal law
that can be properly redressed through prospective injunctive relief”);
• District ECF 18-0, at 17 (systemic corruption allegations do not “raise a
plausible claim that such a drastic remedy is warranted here”—referring to
negotiations to resolve, special master to investigate, and injunctive relief to
“preserve all records”);
• District ECF 18-0, at 20 (“Plaintiff’s motion fails because Plaintiff has not
provided the procedural prerequisites under Rule 65(b)(1)”);
But see:
• Circuit ECF 20-1, at 83–87 (Selective Citation, Substance over Form, and
Standard of Review);
• Circuit ECF 20-1, at 26–30 (intentionally misrepresented filings);
• Circuit ECF 20-1, at 40–51 (plausibility of conspiracy—self-contained
irreconcilable contradictions, independent validation, meritorious conclusions);



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• Circuit ECF 20-1, at 136–143 (Labor Dispute—Anti-Injunction and Clearly
Lacking Jurisdiction);
• Circuit ECF 24-4 (affidavit—plausibility);
• Circuit ECF 15-4 (appendix d—false procedural record);
• Circuit ECF 15-5 (appendix e—fraudulent lawsuit);
• Circuit ECF 15-10 (appendix j—civil rights conspiracy);
• Circuit ECF 33-1 (affidavit—court record tampering);
• Circuit ECF 33-1 (affidavit—hope, good faith, and certificate of notice).
      Novelist George Orwell warned that restrictions on speech are counter

to democracy in that “if you encourage totalitarian methods,” like the

suppression of speech, thoughts, and ideas, “the time may come when they

will be used against you instead of for you.” Wayne Unger, Stay Out of My

Head: Neurodata, Privacy, and the First Amendment, 80 Wash. & Lee L. Rev.

1439, 1463 (2023) (citing Jacob McHangama, Free Speech: A History from

Socrates to Social Media note 97, at 258 (1st ed. 2022) (internal quotation

omitted)).

C Impartial Tribunal
Circuit ECF 37, at 12, states:

          DeSimone Jr. and pending defendant Hurson attended the
    University of Maryland Francis King Carey School of Law at the
    same time. All three of them served as adjunct professors at the
    school with overlapping years, and Mr. Hurson was the
    commencement keynote speaker in 2024. See Circuit ECF 24-2, at 7–
    9.
Circuit ECF 37, at 13–14, states:

          The Federal Bar Association, celebrated the Maryland Chapter
    in 2021 and Robert Brennen’s work in the FBA’s Maryland Chapter.
    From 2021 to 2024, Robert Brennen, principal of Miles & Stockbridge
    P.C., was Newsletter Editor, President Elect, President, and


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   Immediate Past President during the period when Brendan Hurson
   presided over swearing in ceremonies, speaker on judicial panels,
   luncheon honoree, served on committees, and participant in other
   FBA programming. Robert Brennen’s roles placed him as the decider
   and key influencer that is responsible for Mr. Hurson’s selection, and
   then directly working with Brendan Hurson. See Circuit ECF 24-1, at
   1–7.
          During this same period, Mr. Hurson’s financials transformed
   while he went from federal attorney to magistrate judge to Article III
   judge. Mr. Hurson paid off somewhere between $45,003 and $150,000
   of his liabilities, and after he was sworn in as an Article III judge, his
   reported investments reflect an impossible gain falling between 964%
   and 1,161%—for an amount between $2,128,024 and $2,157,000. The
   only reasonable conclusion from the objective and verifiable facts,
   rooted in the mathematical calculations provided in the affidavit, is
   that Mr. Hurson received at least a seven-figure amount that is not
   disclosed. To clarify, the affidavit does not assert that he only
   received a seven-figure amount—the objective data establishes that
   he received at least that much. The calculations take into account
   both his salary and his wife’s salary, with the attached exhibits
   supporting those numbers as well. See Circuit ECF 42-2, at 9–17.
         Additionally, the affidavit demonstrates that Adam B.
   Abelson’s participation in the Maryland Chapter of the FBA similarly
   resulted in his elevation to an Article III judge. See Circuit ECF 24-2,
   at 6–7.
         No assertion has been made against any other district court
   judge or circuit court judge that they similarly received a substantial
   amount of money, nor has an assertion been made that they did not,
   because their inclusion in the affidavit is intended only to support the
   claims against Brendan Abel Hurson.
Circuit ECF 37, at 15–16, states:

          On April 21, 2025, my notice of formal allegations was included
   in the first amended informal brief, docketed as Circuit ECF 20-1. In
   the first paragraph, I asserted: “Upon remand, Mr. Dillon-Capps
   intends to amend the complaint to include Brendan A. Hurson as a
   named defendant”. Circuit ECF 20-1, at 24.
         “[I]t certainly violates [Due Process] ... to subject [a person's]
   liberty or property to the judgment of a court the judge of which has a


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   direct, personal, substantial, pecuniary interest in reaching a
   conclusion against him in his case”. Tumey v. State of Ohio, 273 U.S.
   510, 523 (1927); see also In re Murchison, 349 U.S. 133, 136 (1955)
   (under the Due Process Clause no judge “can be a judge in his own
   case [or be] permitted to try cases where he has an interest in the
   outcome”).
          As a pending defendant in the proceedings, Brendan Abel
   Hurson’s disqualification is constitutionally mandated, in addition to
   being mandated under 28 U.S.C. § 455(b)(5)(i), which requires recusal
   where a judge “is a party to the proceeding”. Judge Hurson is
   expected to be deposed prior to trial and called to testify during the
   trial, which disqualifies him under 28 U.S.C. § 455(b)(5)(iv).
   Additionally, if the District Court is unable to produce the originals of
   everything filed since December 27, 2024, Judge Hurson will likely
   face criminal charges. These circumstances give rise to a direct and
   substantial personal interest in the outcome of the proceedings,
   thereby further requiring his disqualification under 28 U.S.C. §
   455(b)(4) and 28 U.S.C. § 455(b)(5)(iii).
Circuit ECF 37, at 21–22, states:

          The statutory provisions in 28 U.S.C. § 455 are what give life to
   the due process requirement of a “fair trial (before) a fair tribunal . . .
   .” In re Murchison, 349 U.S. 133, 136 (1955). A claim of bias and
   prejudice that survives rigid scrutiny—where the facts alleged must
   be accepted as true—will necessarily pass constitutional muster as
   well. See United States v. Haldeman, 181 U.S.App.D.C. 254, 353 n.
   276 (D.C.Cir.1976) (en banc) (per curiam) (“Since in our view
   anything impinging on (due process) would have more readily
   violated s 144 or s 455, we do not consider the constitutional
   implications Per se.”), cert. denied, 431 U.S. 933 (1977).
          In both cases, the Supreme Court deemed such conduct
   inexcusable, emphasizing that fairness, equal protection, and
   procedural due process require “an opportunity to present [one’s]
   claims to a court unburdened by any ‘possible temptation’’”. Tumey v.
   Ohio, 273 U.S. 510, 532 (1927). Due process further guarantees the
   right to “a proceeding in which [one] may present [one’s] case with
   assurance that no member of the court is predisposed to find against
   him.” Marshall v. Jerrico, Inc., 446 U.S. 238, 242 (1980).




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         The Supreme Court has also made clear that a due process
   violation arising from the participation of an interested judge is a
   structural defect “not amenable” to harmless-error review, regardless
   of whether the judge’s vote was dispositive. Puckett v. United States,
   556 U.S. 129, 141 (2009) (emphasis deleted).
         A truly impartial tribunal would have no reason to delay in
   recusing itself—Mr. Hurson’s delay is evidence in support of
   disqualification. Similarly, there should be no reason for the Fourth
   Circuit Court to delay in ruling to disqualify and reassign. Berger v.
   United States, 255 U.S. 22, 35 (1921). (“[I]t is his duty to ‘proceed no
   further’ in the case… for of what concern is it to a judge to preside in
   a particular case; of what concern to other parties to have him so
   preside”); Ligon v. City of New York, 736 F.3d 166, 171 (2d Cir. 2013)
   (“A district judge has no legal interest in a case or its outcome, and,
   consequently, suffers no legal injury by reassignment”).
D Denied Hearings
      Mr. Hurson has repeatedly denied my requests for a hearing. See

Circuit ECF 20-1, at 11–16 (Jan. 8—emergency ex parte request for neutral

magistrate for in-camera review and testimony, and hearings for TRO and

preliminary injunction to preserve evidence and maintain the status quo);

Circuit ECF 20-1, at 88–91 (Jan. 29—motion for reconsideration of Jan. 8);

Circuit ECF 20-1, at 29–31 (Feb. 12—TRO and preliminary injunction on

undisputed claims to restore and maintain the status quo); see also Circuit

ECF 15-7 (appendix g—special master and magistrate judge).


                                   Conclusion
      In New Orleans Public Service, Inc. v. Council of City of New Orleans,

491 U.S. 350, 358–59 (1989), the Supreme Court reaffirmed that “federal




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courts lack the authority to abstain from the exercise of jurisdiction that has

been conferred.”

      While this Court may lack jurisdiction to review the merits of the

underlying claims, it retains both the jurisdiction and the duty to adjudicate

this FRCP 60(b)(4) motion, to address structural due process violations, and

to remedy Mr. Hurson’s fraud upon the court. It also retains inherent

authority to disqualify a judge who is a party to the proceeding and whose

conduct has undermined judicial integrity.

      No tribunal may validly adjudicate claims while disclaiming

jurisdiction, altering the record without order, suppressing filings, or refusing

to hear the only party who has presented undisputed evidence. These acts are

not judicial error—they are ultra vires and constitutionally void. When the

court record itself is not authentic, and the presiding judge needs to be

mandatorily disqualified party, no ruling can stand. The judgment is void,

and relief is mandatory.


                                  Prayer for Relief
WHEREFORE, Plaintiff-Appellant respectfully requests that this Court:

1. GRANT this motion pursuant to Federal Rule of Civil Procedure 60(b)(4);

2. ORDER the preservation of Plaintiff-Appellant in forma pauperis status as
   previously granted;




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3. ORDER the preservation of the current case—including its status, the
  complete court record, and any existing District Court stay—pending both
  (i) this Court’s ruling on Plaintiff-Appellant’s separately filed motion for
  disqualification and reassignment, and (ii) Plaintiff-Appellant’s formal
  response to that ruling;

4. VACATE all rulings and orders entered by Brendan A. Hurson in the
  District Court and declare that those rulings are, and have always been,
  void—not merely voidable—and without legal effect;

5. ORDER the issuance of any notices to Plaintiff-Appellant that are
  required or permitted under any applicable law of which the judiciary is
  aware;

6. GRANT any further relief necessary to effectuate vacatur of the void
   judgment, consistent with Rule 60(b)(4) and this Court’s inherent
  authority; and

7. GRANT such other and further relief as this Court deems just and proper
   to preserve both the appearance and reality of impartial justice.

                             Respectfully Submitted
June 9, 2025                                                       1334 Maple Avenue
                                                                   Essex, Maryland
                 /s/ Ryan Dillon-Capps                             21221
                 Ryan Dillon-Capps                                 ryan@mxt3.com
                                                                   703-303-1113




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